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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF ILLINOIS


      ANDREA CAMPBELL, individually and )
      on behalf of all others similarly situated, )
                                                  )
                           Plaintiff,             )
                                                  )
      vs.                                         )       Case No. 3:16-CV-1320-NJR-SCW
                                                  )
      SI WIRELESS, LLC, and DOES 1-25,            )
                                                  )
                          Defendants.             )

                              MEMORANDUM AND ORDER

  ROSENSTENGEL, District Judge

            Andrea Campbell (“Campbell”) filed this putative class action against SI

  Wireless, LLC (“SI”) and Does 1-25, 1 alleging SI violated the Telephone Consumer

  Protection Act (“TCPA” or “Act”),2 47 U.S.C. § 227, et seq., by sending automated text

  messages to her wireless telephone without her consent (Doc. 1). This matter is

  currently before the Court on SI’s Motion for Judgment on the Pleadings (Doc. 19). For

  the following reasons, the Court grants SI’s motion.

                            FACTUAL AND PROCEDURAL BACKGROUND

            SI was Campbell’s cellular carrier at all times relevant to her complaint (See

  Doc. 1). On August 8, 2016, SI sent Campbell a text message regarding the impending

  suspension of her account due to an unpaid bill (Doc. 1, pp. 1-2). Campbell replied

  1
    The Court stayed discovery pending disposition of SI’s Motion for Judgment on the Pleadings. Does 1-
  25 have not yet been identified.
  2 “TCPA” and “Act” in this Order refer collectively to the statute and the FCC’s rules and regulations.



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  “STOP” to the message, indicating she no longer wanted to receive account updates via

  text messages (Id. at p. 2). Nonetheless, Campbell received approximately four

  additional texts from SI, which Campbell contends was in violation of the TCPA (Id.).

         SI posits that the text messages at issue here did not violate the TCPA because

  the TCPA does not prohibit communications between a cellular carrier and its

  customers so long as the customer is not charged for the communication (Doc. 20, pp. 1-

  2). Under this theory, SI moves the Court for judgment on the pleadings (Doc. 19).

  Campbell asserts, however, that a cellular carrier needs its customers’ consent in order

  to send them text messages, and she revoked her consent to receive text messages from

  SI when she replied “STOP” to the message from August 8, 2016 (Doc. 1, p. 2).

  According to Campbell, SI is therefore not immune to liability under the TCPA, and

  judgment on the pleadings is not appropriate (See Doc. 24).

                                         LEGAL STANDARD

         Federal Rule of Civil Procedure 12(c) permits a party to move for judgment on

  the pleadings after the plaintiff’s complaint and the defendant’s answer have been filed.

  FED. R. CIV. P. 12(c); Moss v. Martin, 473 F.3d 694, 698 (7th Cir. 2007). A Rule 12(c)

  motion for judgment on the pleadings is governed by the same standard as a Rule

  12(b)(6) motion to dismiss for failure to state a claim. Lodholtz v. York Risk Serv. Group,

  Inc., 778 F.3d 635, 639 (7th Cir. 2015). In order to survive a motion to dismiss under Rule

  12(b)(6), a complaint must “state a claim to relief that is plausible on its face.” Id.

  (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial

  plausibility when the plaintiff pleads factual content that allows the court to draw the

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  reasonable inference that the defendant is liable for the misconduct alleged.” Lodholtz,

  778 F.3d at 639 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). In making this

  determination, the court must construe all facts in the pleadings and draw all

  reasonable inferences in favor of the non-moving party. Lodholtz, 778 F.3d at 639.

  Judgment on the pleadings should be granted if the “facts are uncontested” and reveal

  that relief for the plaintiff is no longer plausible. See Richards v. Mitcheff, 696 F.3d 635,

  637–38 (7th Cir. 2012).

                                             DISCUSSION

            Congress enacted the TCPA in 1991 “to protect consumers from the nuisance,

  invasion of privacy, cost, and inconvenience that autodialed and prerecorded calls

  generate.” In the Matter of Dialing Servs., LLC, 32 F.C.C.R. 6192, 6198, 2017 WL 3187648

  (July 26, 2017). The TCPA prohibits “any call (other than a call made for emergency

  purposes or made with the prior express consent of the called party) using any

  automatic telephone dialing system . . . to any telephone number assigned to a . . .

  cellular telephone service.” 47 U.S.C. § 227(b)(1)(A)(iii). A text message constitutes a

  “call” within the meaning of the TCPA. Campbell-Edwald Co. v. Gomez, 136 S. Ct. 663, 667

  (2016).

            The TCPA directs the FCC to implement rules and regulations to effectuate the

  Act’s provisions. Mims v. Arrow Financial Servs., LLC, 565 U.S. 368, 371 (2012). Congress

  amended the TCPA just two weeks after its enactment to include Section (b)(2)(C),

  which expressly authorizes the FCC to “exempt from its consent requirement calls to a

  number assigned to a cellular telephone service that are not charged to the consumer,

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  subject to conditions the Commission may prescribe ‘as necessary in the interest of’

  consumer privacy rights.” In the Matter of Rules & Regulations Implementing the Tel.

  Consumer Prot. Act of 1991 (hereinafter “2015 Ruling”), 30 F.C.C.R. 7961, 8023, 2015 WL

  4387780 (July 10, 2015) (quoting 47 U.S.C. § 227 (b)(2)(C)); See Pub. L. No. 102-556, 106

  Stat. 4181, 4194-95 (Oct. 28, 1992).

         Stated more simply, the TCPA prohibits sending certain automated text

  messages unless (1) the message is in response to an emergency; (2) the message is sent

  with the prior consent of the recipient; (3) or the FCC has exempted the message from

  the consent requirements under Section (b)(2)(C).

         The FCC issued its first TCPA ruling in 1992, in which it carved out exemptions

  for certain types of calls and provided clarification on the TCPA’s reach. See In the

  Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991 (hereinafter

  “1992 Ruling”), 7 F.C.C.R. 8752, 1992 WL 690928 (Oct. 16, 1992). The following excerpt

  from the 1992 Ruling forms the crux of the present dispute:

         The TCPA prohibits autodialer and prerecorded message calls to radio
         common carrier services or any service for which the called party is
         charged for the call. The Cellular Telecommunications Industry
         Association (CTIA) and Centel Corporation urge the Commission to
         exempt from the prohibitions on autodialers and prerecorded messages
         those calls made by cellular carriers to cellular subscribers (as part of the
         subscriber’s service) for which the called party is not charged. These
         commenters point out that cellular customers are not charged for calls
         which, for example, monitor service or issue warnings to “roamers” that
         they are moving out of the carrier’s service area. Therefore, such calls
         should either be exempted from the prohibitions of [the TCPA] or should
         be interpreted as not intended to be prohibited by Congress.

         In addition, West Marketing Services (West), a market research firm,
         states that it licenses a program, CelShare, which places calls to cellular

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         phones to measure a cellular carrier’s share of a given cellular market. The
         CelShare program monitors cellular telephone company messages to
         determine whether a random sample of telephone numbers is active or
         inactive. To avoid actually reaching a cellular customer, calling devices
         are normally used in the middle of the night, are set to two rings, and
         immediately disconnect if a cellular customer answers the call. West states
         that three live connections are made for every 1,000 calls. Since the
         primary function of its program is market research, and since no
         telemarketing is involved, West urges the Commission to allow its
         program to operate under the proposed rules. West notes that several
         states have specifically exempted its program from the definition of
         prohibited autodialer calls.

         Based on the plain language of § 227(b)(1)(iii), we conclude that the TCPA
         did not intend to prohibit autodialer or prerecorded message calls to
         cellular customers for which the called party is not charged. Moreover,
         neither TCPA nor the legislative history indicates that Congress intended
         to impede communications between radio common carriers and their
         customers regarding the delivery of customer services by barring calls to
         cellular subscribers for which the subscriber is not called. Accordingly,
         cellular carriers need not obtain additional consent from their cellular
         subscribers prior to initiating autodialer and artificial and prerecorded
         message calls for which the cellular subscriber is not charged. However,
         the market research calls to cellular carriers, as conducted by the West
         CelShare program, are clearly prohibited absent the prior express consent
         of the cellular customer called. While West appears to take pains to avoid
         calls which will result in charge to cellular subscribers, the fact that its
         market research calls result in such charges and are made without prior
         consent from the subscribers places its service under the prohibitions of
         the TCPA and the rues [sic].

  Id. at 8775 (internal citations omitted).

         The dispositive issue in this case is whether the 1992 Ruling completely

  immunizes cellular carriers from liability under the TCPA when they send their

  customers service-related messages for which the customer is not charged or whether

  liability hinges on the customer’s consent.

         SI contends that, based on the 1992 Ruling, messages from a cellular carrier to its



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  customer totally fall outside the scope of the TCPA and it can therefore send messages

  to its customers without the customers’ prior consent. If customer consent is not

  required, then it follows that Campbell could not revoke her consent to receive

  unwanted text messages.

         Campbell, on the other hand, points to the FCC’s statement that “cellular carriers

  need not obtain additional consent from their cellular subscribers prior to initiating

  [communications] for which the cellular subscriber is not charged.” 1992 Ruling at 8775.

  She argues that the word “additional” proves these calls are subject to the TCPA’s

  prohibitions, but the FCC exempted them based on the customer’s prior consent.

  Campbell theorizes that an individual consents to receiving automated messages from

  her cellular carrier by virtue of subscribing to the carrier’s services and that this consent

  can be revoked. The FCC has confirmed that “[c]onsumers have the right to revoke their

  consent to receive robocalls and robotexts in any reasonable way at any time.” FCC

  Press Release, FCC Strengthens Consumer Protections against Unwanted Calls and

  Texts, 2015 WL 3819270, at *1 (June 18, 2015). Alternatively, Campbell argues that if

  consent is inapplicable, SI is still subject to liability because Congress did not intend to

  preclude the messages from the TCPA’s prohibitions.

         The FCC has done little to expound on the liability of cellular carriers under the

  TCPA, and there is an overall dearth of discussion regarding the matter. Based on FCC

  rulings and regulations, however, it appears cellular carrier liability does not rise and

  fall with the subscriber’s consent.

         As indicated above, when the TCPA was first enacted, cellular carriers argued

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  that calls to their subscribers “should either be exempted from the prohibitions of [the

  TCPA] or should be interpreted as not intended to be prohibited by Congress.” Id. at

  8775. The FCC clearly chose the latter, stating, “[b]ased on the plain language of

  § 227(b)(1)(iii), we conclude that the TCPA did not intend to prohibit autodialer or

  prerecorded message calls to cellular customers for which the called party is not

  charged.” Id. The FCC explained that its decision was based on “the fact that neither the

  TCPA nor its legislative history indicates that Congress intended to impede

  communications between common carriers and their customers regarding the delivery

  of customer service by barring calls to wireless consumers for which the consumer is

  not charged.” In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act

  of 1991 (hereinafter “2012 Ruling”), 27 F.C.C.R. 1830, 1834, 2012 WL 507959 (Feb. 15,

  2012).

           The FCC has continued to adhere to this decision in subsequent rulings. For

  example, in a 2012 Ruling, the FCC stated that “calls made by cellular carriers to their

  subscribers for which the subscribers were not charged do not fall within the

  prohibitions on autodialers or prerecorded messages[.]” 2012 Ruling at 17485. In a 2015

  Ruling, the FCC stated that “the TCPA’s restrictions do not cover calls from wireless

  carriers to their customers[.]” 2015 Ruling at 7968 n.13.

           Based on the above, it is clear that the messages at issue here are not merely

  exempt from liability under the TCPA based on prior consent or otherwise. 3 Rather,



  3When the FCC issued its 1992 Ruling, Section (b)(2)(C) was non-existent. The FCC was statutorily
  authorized to exempt certain calls to residential telephone lines but not to cell phones. Matter of Cargo

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  they fall completely outside the TCPA’s scope. 4

          Campbell’s entire argument hangs on the phrase “additional consent” from the

  1992 Ruling. She argues the word “additional” proves the FCC exempted these calls

  from TCPA liability based on prior consent. Otherwise, “additional” would be

  superfluous.

          “It is a cardinal principle of statutory construction that a statute ought, upon the

  whole, to be construed that, if it can be prevented, no clause, sentence, or word shall be

  superfluous, void, or insignificant.” TRW Inc. v. Andrews, 534 U.S. 19, 31 (2001). The

  phrase “additional consent[,]” however, is found in an administrative ruling, not a

  statute. The FCC’s own interpretation of its 1992 Ruling establishes that “additional”

  was, indeed, superfluous; hence it’s explanation that the TCPA “does not cover” calls

  from a cellular carrier to its customers for which the customer is not charged, and that

  these calls “do not fall within” the TCPA. If a statute “does not cover” an action, or the

  action “does not fall within” the statute’s scope, then that action cannot lead to liability

  under the statute. See Francis v. United States, 188 U.S. 375, 381 (1903) (“The statute does

  not cover the transaction, and, however reprehensible the acts of the plaintiffs in error

  may be thought to be, we cannot sustain a conviction on that ground.”); United States v.


  Airline Ass’n Petition for Expedited Declaratory Ruling Rules & Regulations Implementing the Tel. Consumer
  Prot. Act of 1991, 29 FCC Rcd. 3432, 3434, 2014 WL 1266071 (March 27, 2014). Thus, the FCC could not
  exempt the text messages at issue here based on anything but prior express consent or emergency
  circumstances.

  4The FCC has acknowledged there is a distinction between calls that are exempt from liability under the
  TCPA and calls that do not fall within the TCPA’s scope. For instance, it explained, “[t]he TCPA did not
  carve out a specific exemption for voice messaging services. However, the services referred to by the
  commenters would appear to fall either outside the TCPA’s prohibitions or under an exemption.” 1992
  Ruling at 8776.

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  Bell, 936 F.2d 337, 342 (7th Cir. 1991) (Reversing a defendant’s conviction because his

  activities “[did] not fall within” the criminal statute.).

         Finally, Campbell asserts that even if a customer cannot revoke consent, the

  messages at issue here are “not of the type” the FCC intended to preclude from TCPA

  liability. (Doc. 24, p. 14). She cites a portion of the 2012 Ruling that states:

         The Commission [in its 1992 Ruling] provided two examples of the types
         of wireless calls it was addressing: (1) calls monitoring service (e.g.,
         customer satisfaction, service quality, or other matters relevant to the
         management of their operations); and (2) warnings to roamers that they
         were moving out of their carrier’s service area.

  2012 Ruling at 1834 n.26.

         Campbell asserts the FCC intended cellular-carrier immunity to extend only to

  these two types of calls. But the FCC explicitly states that these are merely “examples”

  of calls the Act does not cover. Moreover, a call warning a customer of the suspension

  of her service undoubtedly “monitors service.”

         Text messages from a cellular carrier to its customer related to the impending

  suspension of an account, and for which the customer is not charged, clearly do not

  come within the TCPA’s ambit. Thus, the text messages are not subject to the Act’s

  consent requirements, and a customer cannot advance a TCPA claim under a

  revocation-of-consent argument. The relevant facts here are uncontested and cannot

  support a plausible claim for relief.




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                                    CONCLUSION

        For the reasons set forth above, SI’s Motion for Judgment on the Pleadings

  (Doc. 19) is GRANTED. Campbell’s claims against SI are DISMISSED with prejudice.

  Does 1-25 have not yet been identified because the Court stayed discovery pending

  disposition of this Motion. Accordingly, Campbell’s claims against Does 1-25 are

  DISMISSED without prejudice. The Clerk of Court is DIRECTED to enter judgment

  accordingly.

        IT IS SO ORDERED.

        DATED: April 13, 2018


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                                             NANCY J. ROSENSTENGEL
                                             United States District Judge




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